Exhibit 2
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FITNESS ANYWHERE LLC,
                                                    Case No. 19-cv-04155
               Plaintiff,
                                                    Judge John Z. Lee
v.
                                                    Magistrate Judge Sheila M. Finnegan
95SP_KK, et al.,
               Defendants.


     PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS TO DEFENDANTS

       Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff Fitness

Anywhere LLC (“TRX” or “Plaintiff”), by and through its counsel, hereby requests each of the

Defendants identified herein to answer the following Requests for Admissions, separately and fully

in writing under oath within five (5) days of receipt hereof pursuant to Paragraph 2 of the

Preliminary Injunction Order. [38] at ¶ 2.

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                                 REQUESTS FOR ADMISSION

       Request for Admission 1.        Admit that You own the Defendants’ Internet Stores.

       Request for Admission 2.        Admit that You operate the Defendants’ Internet Stores.

       Request for Admission 3.        Admit that You offered for sale and sold products infringing

at least one of the Plaintiff’s patented designs.

       Request for Admission 4.        Admit that You are not authorized to sell goods under the

TRX Design.

       Request for Admission 5.        Admit that Your supplier is not authorized to sell goods

under the TRX Design.

       Request for Admission 6.        Admit that You did not obtain an opinion from United States

counsel about the legality of offering for sale each of the Infringing Products.

       Request for Admission 7.        Admit that Your profits from the sale of the Infringing

Products totals more than $100,000.




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                           DEFINITIONS AND INSTRUCTIONS

         1.    In addition to the definitions and instructions set forth in Fed. R. Civ. P. 36, the

following definitions and instructions apply to the Requests for Admissions set forth above and

should be considered as part of each such request:

         2.    As used herein, “Defendant” shall include the following Internet Stores identified

by the Internet Store Name and URL.


   No.                              URL                                 Internet Store Name
     1    ebay.com/usr/95sp_kk                                        95sp_kk
     3    ebay.com/usr/angela.liang                                   angela.liang
    12    aliexpress.com/store/3624054                                BrotherSports Store
    13    aliexpress.com/store/4499133                                Constant Fitness Store
    16    aliexpress.com/store/3375044                                DLINE Store
                                                                      DOUBLE FISH Official
    17 aliexpress.com/store/3569003                                   Store
                                                                      Evoke Fitness Industries
    20 evokefitness.en.alibaba                                        Co., Ltd.
                                                                      FAVSPORTS Store
    21 aliexpress.com/store/3861104
                                                                      fit & healthy sportsmall
    22 aliexpress.com/store/4423151                                   store
                                                                      FUJIAN C-long Flly
    24    wish.com/merchant/55a7ba850e8245404e2c5f16                  Co.,Ltd
    26    ebay.com/usr/gabswy0                                        gabswy0
    27    aliexpress.com/store/4246040                                Geakbros Outdoor Store
    30    aliexpress.com/store/1955590                                H -OFICIAL Store
                                                                      hou1win2
    32 ebay.com/usr/hou1win2
                                                                      I love with fitness
    33 aliexpress.com/store/1292408                                   franchised store
                                                                      ITSTYLE Official Store
    34 aliexpress.com/store/4506011
                                                                      ItStyle Store
    35 aliexpress.com/store/102554
                                                                      JIEXING Store
    37 aliexpress.com/store/3200022
                                                                      JNJ outdoors Store
    38 aliexpress.com/store/1197960
                                                                      KINJAZ H-life Store
    39 aliexpress.com/store/2937052


                                                3
                                                          LAY Store
42 aliexpress.com/store/3083019
                                                          LuLu Fitness Store
46 aliexpress.com/store/2666028
                                                          Mask 2.0 Store
47 aliexpress.com/store/913346
                                                          MWILLFIT Store
49 aliexpress.com/store/4272028
                                                          Nantong Guli Fitness Co.,
50 gulifitness.en.alibaba                                 Ltd.
                                                          Nantong Titanium
51 titanium-strength.en.alibaba                           Strength Systems Co., Ltd.
                                                          newyoutube
52 ebay.com/usr/newyoutube
                                                          NF Fitness Store
53 aliexpress.com/store/2386042
                                                          nxr867
54 ebay.com/usr/nxr867
                                                          omagax
55 ebay.com/usr/omagax
                                                          Outdoor Sporting Store
57 aliexpress.com/store/510608
                                                          pengroad store
58 aliexpress.com/store/4477039
                                                          Shenzhen Gymarts
                                                          Technology Company
62 gymarts.en.alibaba                                     Limited
                                                          Shop1194162 Store
63 aliexpress.com/store/1194162
                                                          Shop1211066 Store
64 aliexpress.com/store/1211066
                                                          Shop3714012 Store
65 aliexpress.com/store/3714012
                                                          Shop4619004 Store
67 aliexpress.com/store/4619004
                                                          Shop4660051 Store
68 aliexpress.com/store/4660051
                                                          Storm Wind
71 aliexpress.com/store/1757545
                                                          swellfish01-1
72 ebay.com/usr/swellfish01-1
   aliexpress.com/store/4404035?spm=2114.10010108.0.0.3   TAVIEW FIT Store
73 03f665fX8IrfS
                                                          tmall-offical
77 ebay.com/usr/tmall-offical
                                                          unicornltd08
80 ebay.com/usr/unicornltd08
                                                          Visionarytech
81 ARDFTB7OCMAFM
                                                          win.max-sport
84 ebay.com/usr/win.max-sport
                                                          xx28 you store
85 aliexpress.com/store/4441024
                                                          Yutonglong-us
94 A29Q9M72CS1IS0



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        3.      These requests are addressed to each Defendant listed in Paragraph 2 and (a) its

present or former directors, officers, employees, agents, representatives, accountants,

investigators, consultants, attorneys, and predecessors or successors in interest and any parent,

subsidiary, or affiliated entities; (b) any other person acting on Defendants’ behalf or on whose

behalf Defendants acted; and (c) any other person otherwise controlled by Defendants, or which

controls Defendants, or which is under common control with Defendants.

        4.      As used herein, “Plaintiff” shall mean, unless otherwise indicated, Fitness

Anywhere LLC, any of Plaintiff’s officers, directors, employees, agents and representatives, and

all persons acting on Plaintiff’s behalf.

        5.      As used herein, “Defendant” or “Defendants” or “You” or “Your” or “Yourself”

shall be deemed to include the named owner(s) and/or operator(s) of Defendants’ Internet Stores

and Defendants’ Financial Accounts, and (a) its present or former directors, officers, employees,

agents, representatives, accountants, investigators, consultants, contractors, attorneys, and

predecessors or successors in interest and any parent, subsidiary, or affiliated entities; (b) any other

person acting on Defendants’ behalf or on whose behalf Defendants acted; and (c) any other person

otherwise controlled by Defendants, or which controls Defendants, or which is under common

control with Defendants.

        6.      As used herein, “Defendants’ Internet Stores” shall be deemed to include the online

marketplaces listed in Paragraph 2.

        7.      “Lawsuit” or “Litigation” shall mean the lawsuit captioned Fitness Anywhere LLC

v. The Partnerships, et al., Case No. 19-cv-4155, filed on June 20, 2019, in the U.S. District Court

for the Northern District of Illinois.




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       8.         “Complaint” shall mean the Complaint and Amended Complaint filed by Plaintiff

in the Lawsuit.

       9.         As used herein, the “TRX Design” shall collectively refer to Plaintiff’s registered

patented design, as shown in the Lawsuit Complaint.

       10.        As used herein, “Plaintiff’s Products” shall mean any product offered for sale or

sold using, relating to, featuring or bearing the TRX Design and/or designs identical with, or

substantially similar to, the TRX Design as defined in Paragraph 9.

       11.        As used herein, “Infringing Products” shall mean products offered for sale or sold

using, relating to, featuring or bearing a third-party patented design on the product regardless of

when it became known or was alleged You were using a third-party patented design.

       12.        The singular form of a word should be interpreted in the plural, as well. Any

pronoun shall be construed to refer to the masculine, feminine, or neuter gender as in each case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive.

Dated this 11th day of September 2019.          Respectfully submitted,


                                                /s/ Justin R. Gaudio
                                                Paul G. Juettner
                                                Justin R. Gaudio
                                                RiKaleigh C. Johnson
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                                                Counsel for Plaintiff Fitness Anywhere LLC



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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of September 2019, a copy of the foregoing was served

via electronic mail on the e-mail addresses identified in Exhibit 2 to the Declaration of Marisa

Christie and any e-mail addresses provided for Defendants by third parties.

                                             /s/ Justin R. Gaudio
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